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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
Ceetified Mail WO. 41F] 9760900 G W829 GIO5 F744

IN RE: Chapter It
AMERICAN HOME MORTGAGE Case No. 07-11047 (CSS)

HOLDINGS, INC., et al
A Delaware corporation =

Debtors

MOTION FOR JUDGMENT AS A MATTER OF LAW OF ADMINISTRATIVE CLAIM
ENTERED

Comes now Hussain Kareem, Creditor/Claimant moves this honorable court to address
his administrative claim against the debtors under Fed. K.ules of Civ. Procedures, Rule 50 (a), 1,

(A) & (B) for reasons enumerated below:

Summary of Undisputed Facts
1.

Claimant entered this court by meeting the bar dated on January 5, 2011 for
administrative claims and by filing his Proof of Claim, Form B10 (see Docket No.9692).
Claimant maintains that he was not given any prior notice by the Debtor or by their counsel.
Their failure caused to delay him from participating in th s insolvency proceedings. The lack of
receiving notice by the Debtors, has prevented the Claimant, Mr. Kareem, from knowing or
making several other procedural deadlines. Mr. Kareem | as been deprived of his substantive

rights by the debtors. This Administrative Claim is Claimant’s last hope to find justice on his

issues.

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At issue are direct Contractual Breaches by the Debtor for their dilatory actions to give
adequate notices by their failure to Rescind his loan under applicable Federal Truth-in-Lending
Act 15 USC §1635 (e);§§1640 and under Georgia’s Fair Lending Act O.C.G. A. §7-6A-7(e) for
high cost loan. Claimants loan does meet the threshold for such determination by the nature of it
being a negative amortization loan product.

3.

In the instant action, Claimant submitted his proo” of claim authorizing this court to
review and determine his entitlement for his TILA Rescission Demand Failure by the Debtors
and Breach of Contract failure due not giving notice of insolvency and failure to give transfer of
servicing rights after insolvency under RESPA. Claimant has provided proof of U.S. Certified
Mail Delivery that the Debtor received Claimant’s Notice for Rescission of the Note and the

Mortgage (See Docket No. 9692 Exhibit C). Yet, Debtors never responded timely.

4,

Claimant has suffered actual monetary and tort damages related to the Debtor’s
insolvency and by Debtor’s failure to notify him. The Coatract (Consisting of the Adjustable
Rate Note- First Five Year Fixed Payment- 12 MTA (See Docket No. 9692 Exhibit A) and the
Security Deed (See Exhibit B2 Attached ) contractually required the Debtors to give adequate
notices expressed under terms found in the instruments. Jnder the Note, Covenants Section 4
(j) Notice of Changes and Section 8 on page 4 of 6 Givirig of Notices, the relevant terms
provides:

“4. Notice of Changes...(j) “The Note Holder will deliver or mail to me a notice

of any changes in the amount of my monthly payrnent before the effective date of any
change. The notice will include information required by law to be given to me...”

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“8. Giving of Notices. “Unless Applicable: Law requires a different method, any
notice that must be given to me under this Note will be given by delivering it or by
mailing it by first class mail...”

5.

Furthermore, the Security Deed is witnessed by filed instruments in the Superior Court of
Gwinnett County, Georgia’s Records and Deeds in Book 46756 Pages 425- 440 required the
Debtors to give same written notice for important changes in the note performance or before the
principals commence in any judicial proceedings. Under -he Security Instrument, Covenants
Page 434 Section 15 and Pages 435-436 Section 20 parégraph 2, in relevant parts, expressly
provides:

“15. Notices. All Notices given by Borrower or Lender in connection with this
security instrument must be in writing.”

“20. Sale of Note: Change of Loan Servicer; Notice of Grievance......

Neither Borrower nor Lender May commence, join, or be joined to any judicial
action (as either an individual litigant or the member of a class) that arises from the other
party’s actions pursuant to this Security Instrument or that alleges that the other party has
breached any provision of, or any duty owed by reason of, this Security Instrument, until
such Borrower or Lender has notified the other party the other party (with such notice
given in compliance with the requirements of Section 15) of such alleged breach and
afforded the other party hereto a reasonable period after giving of such notice to take
corrective action....”

The relevance to the above “Contractual Requirerients” to instant action is that Debtors
have shown a pattern of disregard for giving or receiving written notices to the Home

Owner/mortgagor. The failure to give notification has led to their apparent breach of contract.

6.
In the instant action, Borrower proved that he sen: to Michael Straus, CEO of American

Home Mortgage Holdings, Inc. a timely Rescission Demand Notice dated on October 18, 2008,

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by U.S. Certified Mail No. 7008130000127430907 (See Docket No. 9692 Exhibit C). Claimant
requests this court to honor the fact that his instrument is discharged. The fact that the Debtors
are cited for their inactions to address the Rescission Demand by the Claimant the Debtors are
time-barred in raising any defense. Even if Debtors attempted to raise a defense to deny the
Claimant his claims in this proceeding, they are estopped as an operation of law. In most recent
unopposed answer held at the Hearing in this Court on July 19, 2011 (See Docket 10104) is an
example of their continued pattern of default on the issue complying with a bona fide TILA

Rescission Demand.

7.
Adjourment and Set of New Hearing Unjust to Claimant’s Rights

Claimant has been more than patient on the raatter. The adjournment and rescheduling works to

the disadvantage of the Claimant for reasons to wit:

a. The July 19" 2011 hearing was held without the Claimant receiving any notice at all.
Counsel for the Debtors indicated that the Administrative claim does not mandate for
them to give notice to parties affected by determination under an administrative remedy.
Thus, he was not given any opportunity to be present at the hearing.

b. The deadline for the Debtors to give an answer urder the administrative hearing, on
claims submitted from the January 5" Administrative claims was extended to July 4
2011. Yet, at the hearing on July 19", 2011, no arswer was forthcoming. Claimant was
at an undue disadvantage and could not oppose or object due to his non-presence or lack
of representation at the hearing. As an operation cf law, Claimant was not given his full

due process to oppose an adjournment or the setting of a new hearing.

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c. Claimant has no opportunity, without adequate nctice, to know when the new hearing

will occur. Endangered is his ability to have representation at the new hearing or to
preserve his right to raise oral arguments at the new extended hearing.
. Claimant sees that there are two possible outcomes which may affect him, as follows:

1). A discharge of his indebtedness to his favor, znd

2). monetary compensation.
Claimant wants an immediate determination that ihe Note and Mortgage are dischargable.
The monetary portion can be determined separately, either by adversarial proceeding or
sua sponte, by the court. In either case, Claimant wants the ability to be present at any

new hearing.

8.

Judgment as a Matter of Law

Under Fed. R. Civ. P., Rule 50. Judgment as a Matter of Jaw in a Jury Trial; provides the

relevant right for this honorable court to determine as follows:

“(a) Judgment as a Matter of Law.
(1) In General. ....the court may:
(A) resolve the issue against the party; and

(B) grant a motion for judgment as a matter of law against the party on a claim or defense
that, under the controlling law, can be maintained or defeated only with a favorable
finding on that issue.”

(See UNITHERM FOOD SYSTEMS, INC. v. SWIFT-ECKRICH, INC., dba CONAGRA
REFRIGERATED FOODS, Certiorari to the United States Court of Appeals for the Federal
Circuit, Argued November 2, 2005--Decided January 23, 2006, Case No. 04-597).

9.

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Notwithstanding the above po
validity of his rescission demand mad
“Loan Transaction” timely upon rece

Administrative Claim with Brief in S1

Claimant’s Motion for Entry ¢
9692) has not been opposed. Thus, it
claim as true at a minimum, if not in
18, 2008 to respond to the Claimant.
can controvert Claimant’s factual claj

court to proceed in an Adversarial Prq

ints, Claimant seeks. a Judgment as a Matter of Law on the
e and the subsequent failure by Debtors to unwind the
pt of Debtors Rescission Notice (See Motion for Entry of

ipport Docket No. 692).

10.

)f Administrative Claim with Brief in Support (See Docket
must be deemed reasonable by this Court to admit his
whole but, in part. Debtors had adequate time since October
There does not appear to be anything that the Defendants
ms. If there is a rebuttal, then Claimant seeks leave of the

bceeding on all remaining issues.

11.

Relief Sought

For all reasons asserted in above paragraphs 1-10, Claimant has shown by good cause, that the

Debtors have a pattern of costly dilatg

relief:

Grant Claimant his administrative cla
given notice within the statutory time

contractual covenants.

Grant damages to be determined by e

Honorable Judge Chris Sontchi.

bry actions against t1e Claimant, who seeks the following

im on his rescission of his mortgage. The Debtors were

, required under the operation of applicable law and by

ither adversarial proceedings or sua sponte, by this Court’s

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Grant Claimant to be given adequate

participate at its occurrence.

Grant Claimant expense of trial to be

Grant Claimant what is deemed reaso

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future notices of anv new hearings, so that, he may be

cast upon the Debtcrs.

able and just.

If this court rules unfavorably advers¢ to Claimant’s requests, then Claimant requests for fully

supported fact finding under Fed. Ru

Claimant sayeth no more.
With all due respects to this Court,

Submitted on or about August 12, 20

s of Civ. Procedures, Rule 50 (a), 1, (A) & (B).

Jl bbefle

Hussain Kareem, Pro Se , A.R.R.

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2197 Carlysle Creek Drive

Lawrenceville, GA 30044

Tel: GIQGRSOSEIED

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Certificate of Service

I, Hussain Kareem, do certify that I have mailed by first class U.S. Mail on about August 12,
2011, the foregoing to the following at his/her address below:

Counsel For Debtors:

YOUNG CONAWAY STARGATT & TAYLOR, LLP
Sean M. BEACH

Patrick A. Jackson

1000 West St., 17" Floor

P.O. Box 391

Wilmington, DE 19801

Tel: (302) 571-6600

Counsel for the Plan Trustee:

HAHN & HAESSEN LLP

Mark S. Indelicato

Edward L. Schnitzer

488 Madison Avenue

New York, N.Y. 10022

Tel: (212) 478-7200

The Plan Trustee: 10 if

Steven D. Stass Ye te! Aus of l 2,

AHM Liquidating Trust

P.O. Box 10550
Melville, NY 11747

Mathis K. Wright, Presidert , do
NAACP CHAPTER #5160 Clazm
P.O. BOX 1296

AMERICUS, GA 31709
